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     BUCHER AND CHRISTIAN CONSULTING, INC.,
 8   and BCFORWARD RAZOR, LLC
 9
                                   UNITED STATES DISTRICT COURT
10
                                  NORTHERN DISTRICT OF CALIFORNIA
11

12   BRANDON MANGOLD and ANTAR                     Case No.
     MORRAR, as individuals and on behalf of all
13   others similarly situated,                    DECLARATION OF TERESA W.
                                                   GHALI IN SUPPORT OF DEFENDANT
14                  Plaintiffs,                    BCFORWARD RAZOR, LLC’S NOTICE
                                                   OF REMOVAL OF CIVIL ACTION TO
15            vs.                                  FEDERAL COURT
16   BUCHER AND CHRISTIAN                          [Santa Clara Superior Court Case
     CONSULTING, INC.; BCFORWARD                   No. 22CV397331]
17   RAZOR LLC; GAINWELL
     TECHNOLOGIES; BC FORWARDING
18   LLC; and DOES 1 through 20, inclusive,
19                  Defendants.
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     Case No.                                        DECLARATION OF T. GHALI IN SUPPORT OF
                                                          DEFENDANT’S NOTICE OF REMOVAL
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         Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 2 of 51



 1          I, Teresa W. Ghali, declare as follows:
 2          1.      I am an attorney duly licensed to practice before this Court and before all of the
 3   Courts of the State of California. I am of counsel at the law firm of GBG LLP, and counsel of
 4   record for Defendants Bucher and Christian Consulting, LLC (“Bucher and Christian”) and
 5   BCForward Razor, LLC (“BCForward”) in this action.
 6          2.      I have personal knowledge of the matters set forth in this declaration or know of
 7   them based on my review of documents maintained in the ordinary course of business by GBG
 8   LLP and if called as a witness, could and would testify as to their accuracy.
 9          3.      Attached to this declaration as Exhibit A is a true and correct copy of Plaintiffs’
10   Class Action Complaint, filed in the Superior Court of California for the County of Santa Clara
11   on April 27, 2022 (the “Action”).
12          4.      On May 31, 2022, 2022 the Complaint was served on the agent for service of
13   process for Defendants Bucher and Christian, BCForward and Gainwell Technologies, LLC
14   (“Gainwell”). A copy of the Plaintiffs’ Proofs of Service as to Bucher and Christian, BCForward
15   and Gainwell are collectively attached hereto as Exhibit B.
16          5.      On June 28, 2022, Defendants Bucher and Christian, BCForward and Gainwell
17   filed their Answers to the Complaint. A true and correct copy of Defendants Bucher and
18   Christian and BCForward’s Answer to Plaintiffs’ Unverified Complaint is attached hereto as
19   Exhibit C.
20          6.      Attached to this declaration as Exhibits D and E, respectively, are true and correct
21   copies of the Notice to Superior Court and the Notice to Adverse Parties of Filing of Notice of
22   Removal of Civil Action to Federal Court. To avoid duplication, Exhibits D and E to this
23   Declaration omit the Notice of Removal that was attached as an exhibit to the original Notice to
24   Superior Court and the original Notice to Adverse Parties.
25          7.      Attached to Defendants’ concurrently filed Notice of Removal as Exhibit A is a
26   true and correct copy of all documents served on BCForward in this Action.
27          8.      Bucher and Christian joins in and consents to the removal of this action.
28          9.      On May 31, 2022, my office received confirmation from counsel for Gainwell that
     Case No.                                     1         DECLARATION OF T. GHALI IN SUPPORT OF
                                                                 DEFENDANT’S NOTICE OF REMOVAL
          Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 3 of 51



 1   it joins in and consents to removal. On June 24, 2022, Gainwell provided a declaration signed by
 2   its Assistant General Counsel Jefferson B. Blandford attesting that Gainwell is a California
 3   limited liability company with one member, which is a citizen of Delaware and Arkansas.
 4          I declare under penalty of perjury under the laws of the United States and the State of
 5   California that the foregoing is true and correct.
 6          Executed this 29th day of June, 2022, at Burlingame, California.
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                                                                    TERESA W. GHALI
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     Case No.                                     2         DECLARATION OF T. GHALI IN SUPPORT OF
                                                                 DEFENDANT’S NOTICE OF REMOVAL
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                                     Exhibit A
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                                                                 E-FILED
                                                                 4/27/2022 3:30 PM
 1   AEGIS LAW FIRM, PC                                          Clerk of Court
     KASHIF HAQUE, State Bar No. 218672                          Superior Court of CA,
 2   SAMUEL A. WONG, State Bar No. 217104                        County of Santa Clara
     JESSICA L. CAMPBELL, State Bar No. 280626                   22CV397331
 3
     9811 Irvine Center Drive, Suite 100                         Reviewed By: R. Walker
 4   Irvine, California 92618
     Telephone: (949) 379-6250
 5   Facsimile: (949) 379-6251
     Email: jcampbell a,aegislawfirm.com
 6
     Attorneys for Plaintiffs Brandon Mangold and Antar Morrar, as
 7   individuals, and on behalf of all others similarly situated.
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11                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
12                              FOR THE COUNTY OF SANTA CLARA
13
     BRANDON MANGOLD and ANTAR                   Case No. 22CV397331
14   MORRAR, as individuals and on behalf of
15   all others similarly situated,
                                                 CLASS ACTION COMPLAINT FOR:
16                 Plaintiff,
                                                   1. Failure to Pay Minimum Wages;
17          vs.                                    2. Failure to Pay Overtime Wages;
18   BUCHER AND CHRISTIAN                          3. Failure to Provide Meal Periods;
19   CONSULTING, INC.; BCFORWARD                   4. Failure to Permit Rest Breaks;
     RAZOR LLC; GAINWELL
20   TECHNOLOGIES LLC; BC                          5. Failure to Reimburse Necessary Business-
     FORWARDING LLC; and DOES 1                        Related Expenses;
21   through 20, inclusive,
                                                   6. Failure to Provide Accurate Itemized Wage
22                 Defendants.
                                                       Statements;
23
                                                   7. Failure to Pay Wages Timely During
24                                                    Employment;
                                                   8. Failure to Pay All Wages Due Upon
25
                                                       Separation of Employment;
26                                                 9. Violation of Business and Professions Code
27                                                     §§ 17200, et seq.
28                                               DEMAND FOR NRY TRL4,L


                                      CLASS ACTION COMPLAINT
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 1            Plaintiffs Brandon Mangold and Antar Morrar, individually, and on behalf of others

 2 I similarly situated, alleges as follows:

 3                  NATURE OF ACTION AND INTRODUCTORY STATEMENT
 4            1.      Plaintiffs Brandon Mangold and Antar Morrar ("Plaintiffs") bring this putative

 5     class action, pursuant to California Code of Civil Procedure § 382, against defendants Bucher

 6     and Christian Consulting, Inc., BCForward Razor LLC, Gainwell Technologies LLC, BC

 7     Forwarding LLC, and DOES 1 through 20, inclusive (collectively, "Defendants"), on behalf of

 8     themselves as individuals, and on behalf of California citizens who are and were employed by

 9     Defendants as non-exempt employees throughout California.

10            2.      Defendants provide services or goods throughout California.

11            3.      Through this action, Plaintiffs allege that Defendants have engaged in a

12     systematic pattern of wage and hour violations under the California Labor Code and Industrial

13     Welfare Commission ("IWC") Wage Orders, all of which contribute to Defendants' deliberate

14     unfair competition.

15            4.      Plaintiffs are informed and believe, and thereon alleges, that Defendants have

16     increased their profits by violating state wage and hour laws by, among other things:

17                    (a)     failing to pay all wages (including minimum wages and overtime wages);

18 '                  (b)     failing to pay overtime wages at the proper rates;

19                    (c)     failing to provide lawful meal periods or compensation in lieu thereof;

20                    (d)     failing to authorize or permit lawful rest breaks or provide compensation

21 I                          in lieu thereof;

22                    (e)     failing to reimburse employees for necessary business-related expenses;

23                    (f)     failing to maintain or to provide accurate itemized wage statements; and

24                    (g)    failing to pay all wages due upon separation of employment.

25            5.      Plaintiffs seek monetary relief against Defendants on behalf of themselves and all

26     others similarly situated in California to recover, among other things, unpaid wages and benefits,

27     interest, attorneys' fees, costs and expenses, and penalties pursuant to Labor Code §§ 201, 201.3,

28     202, 203, 204, 210, 212, 213, 226, 226.3, 226.7, 227.3, 246, 510, 512, 558, 1174, 1174.5,
                                                       -1-
                                            CLASS ACTION COMPLAINT
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 1   1182.12, 1194, 1194.2, 1197, 1198, 2802, 2698, et seq., and Code of California Civil Procedure

 2   § 1021.5.

 3                                   JURISDICTION AND VENUE

 4           6.      This is a class action pursuant to California Code of Civil Procedure § 382. The

 5   monetary damages and restitution sought by Plaintiffs exceeds the minimal jurisdictional limits

 6   of the Superior Court and will be established according to proof at trial.

 7           7.      This Court has jurisdiction over this action pursuant to the California Constitution,

 8   Article VI, § 10, which grants the Superior Court original jurisdiction in all causes, except those

 9   given by statutes to other courts. The statutes under which this action is brought do not specify

10   any other basis for jurisdiction.

             8.      This Court has jurisdiction over all Defendants because, upon information and

     belief, they are citizens of California, have sufficient minimum contacts in California, or

     otherwise intentionally avail themselves of the California market so as to render the exercise of

14   jurisdiction over them by the California courts consistent with traditional notions of fair play and

15   substantial justice.

16           9.      Venue is proper in this Court because, upon information and belief, Defendants

17   reside, transact business, or have offices in this county, and/or the acts and omissions alleged

18   herein took place in this county.

19                                            THE PARTIES
20           10.     Plaintiffs are residents of California and worked for Defendants in California

21   during the relevant time periods as alleged herein.

22           11.     Plaintiffs are informed and believe, and thereon allege that at all times hereinafter

23   mentioned, Defendants were and are subject to the Labor Code and IWC Wage Orders as

24   employers, whose employees were and are engaged throughout this county and the State of

25   California.

26          12.      Plaintiffs are unaware of the true names or capacities of the defendants sued herein

27   under the fictitious names DOES 1 through 20, but will seek leave of this Court to amend this

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                                                       -2-
                                          CLASS ACTION COMPLAINT
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 1   First Amended Complaint and serve such fictitiously named defendants once their names and

 2   capacities become known.

 3           13.     Plaintiffs are informed and believe, and thereon allege, that DOES 1 through 20

 4   are or were the partners, agents, owners, shareholders, managers, or employees of Defendants at

 5   all relevant times.

 6           14.     Plaintiffs are informed and believe, and thereon allege, that each defendant acted

 7   in all respects pertinent to this action as the agent of the other defendant, carried out a joint

 8   scheme, business plan, or policy in all respects pertinent hereto, and the acts of each defendant

 9   are legally attributable to the other defendant. Furthermore, defendants in all respects acted as

10   the employer and/or joint employer of Plaintiffs and the class members.

11           15.    Plaintiffs are informed and believe, and thereon allege, that each and all of the

12   acts and omissions alleged herein were performed by, or are attributable to, Defendants and/or

13   DOES 1 through 20, acting as the agent or alter ego for the other, with legal authority to act on

14   the other's behalf. The acts of any and all Defendants were in accordance with, and represent,

15   the official policy of Defendants.

16          16.     At all relevant times, Defendants, and each of them, acted within the scope of such

17   agency or employment, or ratified each and every act or omission complained of herein. At all

18   relevant times, Defendants, and each of them, aided and abetted the acts and omissions of each

19   and all the other Defendants in proximately causing the damages herein alleged.

20          17.     Plaintiffs are informed and believe, and thereon allege, that each of said

21   Defendants is in some manner intentionally, negligently, or otherwise responsible for the acts,

22   omissions, occurrences, and transactions alleged herein.

23                                   CLASS ACTION ALLEGATIONS

24          18.     Plaintiffs bring this action under Code of Civil Procedure § 382 on behalf of

25   themselves and all others similarly situated who were affected by Defendants' Labor Code,

26   Business and Professions Code §§ 17200, and IWC Wage Order violations.

27          19.     All claims alleged herein arise under California law for which Plaintiffs seek relief

28   authorized by California law.

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                                          CLASS ACTION COMPLAINT
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 1          20.       Plaintiffs' proposed class consists of and is defined as follows:

 2                    Class

 3                    All California citizens currently or formerly employed by Defendant as non-exempt

 4                    employees in the State of California at any time between May 1, 2019 and the date

 5                    of class certification ("Class").

 6          21.       Plaintiffs also seeks to certify the following subclass of employees:

 7                    Waiting Time Subclass

 8                    All members of the Class who separated their employment with Defendant at any

 9                    time between May 1, 2019 and the date of class certification ("Waiting Time

10                    Subclass").

11          22.       Plaintiffs reserve the right to modify or re-define the Class, establish additional

12   subclasses, or modify or re-define any class or subclass definition as appropriate based on

13   investigation, discovery, and specific theories of liability.

14          23.       Members of the Class and the Subclass described above will be collectively

15   referred to as "Class Members."

16          24.       There are common questions of law and fact as to the Class Members that

17   predominate over any questions affecting only individual members including, but not limited to,

18   the following:

19                    (a)     Whether Defendants fail to pay Plaintiffs and Class Members all wages

20                            (including minimum wages, double time wages, and overtime wages) for

21                            all hours worked by Plaintiff and Class Members.

22                    (b)     Whether Defendants paid Plaintiffs and other Class Members overtime

23                            compensation at the proper rates;

24                    (c)     Whether Defendants required Plaintiffs and Class Members to work over

25                            eight (8) hours per day, over twelve (12) hours per day, over forty (40)

26                            hours per week, and/or seven (7) consecutive days and failed to pay them

27                            overtime compensation at the proper rate.

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                                            CLASS ACTION COMPLAINT
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 1                  (d)     Whether Defendants deprived Plaintiffs and Class Members of timely

 2                          meal periods or required Plaintiffs and Class Members to work through

 3                          meal periods without proper compensation.

 4                  (e)     Whether Defendants deprived Plaintiffs and Class Members of rest breaks

 5                          or required Plaintiffs and Class Members to work through rest breaks

 6                          without proper compensation.

 7                  (f)     Whether Defendants failed to properly reimburse necessary business-

 8                          related expenses incurred by Plaintiffs and Class Members.

 9                  (g)     Whether Defendants failed to provide Plaintiffs and Class Members

10                          accurate itemized wage statements.

11                  (h)     Whether Defendants failed to timely pay the Waiting Time Subclass all

12                          wages due upon termination or within seventy-two (72) hours of

13                          resignation.

14                  (i)     Whether Defendants' conduct was willful or reckless.

15                  (j)     Whether Defendants engaged in unfair business practices in violation of

16                          Business and Professions Code §§ 17200, et seq.

17          25.     There is a well-defined community of interest in this litigation and the proposed

18   Class and Subclass are readily ascertainable:

19                  (a)     Numerosity: The Class Members are so numerous that joinder of all

20   members is impractical. Although the members of the entire Class and Subclass are unknown to

21   Plaintiff at this time, on information and belief, the class is estimated to be greater than twenty-

22   five (25) individuals. The identities of the Class Members are readily ascertainable by inspection

23   of Defendants' employment and payroll records.

24                  (b)     T   icali : The claims (or defenses, if any) of Plaintiffs are typical of the

25   claims (or defenses, if any) of the Class Members because Defendants' failure to comply with

26   the provisions of California's wage and hour laws entitled each Class Member to similar pay,

27   benefits, and other relief. The injuries sustained by Plaintiffs are also typical of the injuries

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     I sustained by the Class Members because they arise out of and are caused by Defendants' common

 2     course of conduct as alleged herein.

 3                    (c)     AdequacX: Plaintiffs will fairly and adequately represent and protect the

 4     interests of all Class Members because it is in their best interest to prosecute the claims alleged

 5    herein to obtain full compensation and penalties due to them and the Class Members. Plaintiffs'

 6    attorneys, as proposed class counsel, are competent and experienced in litigating large

 7    employment class actions and versed in the rules governing class action discovery, certification,

 8    and settlement. Plaintiffs have incurred and, throughout the duration of this action, will continue

 9    to incur attorneys' fees and costs that have been and will be necessarily expended for the

10    prosecution of this action for the substantial benefit of the Class Members.

11                    (d)     SuperioritX: The nature of this action makes use of class action

12    adjudication superior to other methods. A class action will achieve economies of time, effort, and

13    expense as compared with separate lawsuits and will avoid inconsistent outcomes because the

14    same issues can be adjudicated in the same manner for the entire Class and Subclass at the same

15    time. If appropriate, this Court can, and is empowered to, fashion methods to efficiently manage

16    this case as a class action.

17                    (e)     Public Policy Considerations: Employers in the State of California violate

18    employment and labor laws every day. Current employees are often afraid to assert their rights

19    out of fear of direct or indirect retaliation. Former employees are fearful of bringing actions

20    because they believe their former employers might damage their future endeavors through

21    negative references and/or other means. Class actions provide-class members who are not named

22    in the complaint with a type of anonymity that allows for the vindication of their rights while

23    affording them privacy protections.

24                                      GENERAL ALLEGATIONS

25            26.     At all relevant times mentioned herein, Defendants employed Plaintiffs and other

26    California citizens as non-exempt employees at Defendants' California business location(s).

27            27.     Defendants employed Plaintiffs as non-exempt employees at Defendants'

28    California business location.

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                                            CLASS ACTION COMPLAINT
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 1              28.     Defendants continue to employ non-exempt employees within California.
 2              29.     Plaintiffs are informed and believe, and thereon alleges, that at all times herein

 3   I   mentioned, Defendants were advised by skilled lawyers, employees, and otherprofessionals who

 4   I   were knowledgeable about California's wage and hour laws, employment and personnel

 5   I   practices, and the requirements of California law.

 6              30.     Plaintiffs are informed and believe, and thereon allege, that Defendants knew or

 7   I   should have known that Plaintiffs and Class Members were entitled to receive wages for all time

 8       worked (including minimum wages and overtime wages) and that they were not receiving all

 9       wages earned for work that was required to be performed. In violation of the Labor Code and

10       IWC Wage Orders, Plaintiffs and Class Members were not paid all wages (including minimum

11       wages, double time wages, and overtime wages) due to Defendants illegal employment practices,

12 I including, but not limited to, requiring unpaid off-the clock work; and failing to pay Plaintiffs

13       and other Class Members at the proper hourly rates for all hours worked, among other reasons.
14              31.     Plaintiffs are informed and believe, and thereon allege, that Defendants knew or

15       should have known that Plaintiffs and Class Members were entitled to receive wages in a medium

16       negotiable and payable in cash, on demand, without discount. In violation of the Labor Code and

17       IWC Wage Orders, Plaintiffs and Class Members were paid through payment cards that charged

18       fees for obtaining cash.

19              32.     Plaintiffs are informed and believe, and thereon alleges, that Defendants knew or

20       should have known that Plaintiffs and Class Members were entitled to receive all required meal

21       periods or payment of one (1) additional hour of pay at Plaintiffs' and Class Members' regular

22       rate of pay when they did not receive a timely, uninterrupted meal period. In violation of the

23       Labor Code and IWC Wage Orders, Plaintiffs and Class Members did not receive all meal periods
24       or payment of one (1) additional hour of pay at Plaintiffs' and Class Members' regular rate of
25       pay when they did not receive a timely, uninterrupted meal period.
26              33.     Plaintiffs are informed and believe, and thereon alleges, that Defendants knew or
27       should have known that Plaintiffs and Class Members were entitled to receive all rest breaks or

28       payment of one (1) additional hour of pay at Plaintiffs' and Class Members' regular rate of pay
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                                             CLASS ACTION COMPLAINT
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 1   when a rest break was missed. In violation of the Labor Code and IWC Wage Orders, Plaintiffs

 2   and Class Members did not receive all rest breaks or payment of one (1) additional hour of pay

 3   at Plaintiffs' and Class Members' regular rate of pay when a rest break was missed.

 4          34.     Plaintiffs are informed and believe, and thereon alleges, that Defendants knew or

 5   should have known that Plaintiffs and Class Members were entitled to reimbursement for

 6   necessary expenditures incurred in connection with the performance and execution of their job

 7   duties. In violation of the California Labor Code, Plaintiffs and Class Members did not receive

 8   adequate reimbursement for necessary business expenses, including, but not limited to,

 9   reimbursement for tools and equipment, cell phone use, and other expenses.

10          35.     Plaintiffs are informed and believe, and thereon alleges, that Defendants knew or

11   should have known that Plaintiffs and Class Members were entitled to receive itemized wage

12   statements that accurately showed the following information pursuant to the Labor Code: (1)

13   gross wages earned; (2) total hours worked by the employee; (3) the number of piece-rate units

14   earned and any applicable piece rate if the employee is paid on a piece-rate basis; (4) all

15   deductions, provided that all deductions made on written orders of the employee may be

16   aggregated and shown as one item; (5) net wages earned; (6) the inclusive dates of the period for

17   which the employee is paid; (7) the name of the employee and only the last four digits of his or

18   her social security number or an employee identification number other than a social security

19   number; (8) the name and address of the legal entity that is the employer; and (9) all applicable

20   hourly rates in effect during the pay period and the corresponding number of hours worked at

21   each hourly rate by the employee. In violation of the Labor Code, Plaintiffs and Class Members

22   were not provided with accurate itemized wage statements.

23          36.     Plaintiffs are informed and believe, and thereon alleges, that Defendants knew or

24   should have known that the Waiting Time Subclass was entitled to timely payment of wages due

25   upon separation of employment. In violation of the Labor Code, the Waiting Time Subclass did

26   not receive payment of all wages within permissible time periods.

27          37.     Plaintiffs are informed and believe, and thereon alleges, that Defendants knew or

28   should have known they had a duty to compensate Plaintiffs and Class Members, and Defendants

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 1   had the fmancial ability to pay such compensation but willfully, knowingly, and intentionally

 2   failed to do so in order to increase Defendants' profits.

 3           38.     Therefore, Plaintiffs bring this lawsuit seeking monetary and injunctive relief

 4   against Defendants on behalf of themselves and all Class Members to recover, among other

 5   things, unpaid wages (including minimum wages, double time wages, and overtime wages),

 6   unpaid meal period premium payments, unpaid rest period premium payments, interest,

 7   attorneys' fees, penalties, costs, and expenses.

 8                                      FIRST CAUSE OF ACTION

 9                                FAILURE TO PAY MINIMUM WAGES
10    (Violation of Labor Code §§ 1182.12, 1194, 1194.2, 1197; Violation of IWC Wage Order §3-4)

11           39.      Plaintiffs hereby re-allege and incorporates by reference all paragraphs above as

12   though fully set forth herein.

13           40.     Labor Code §§ 1194 and 1197 provide that the minimum wage for employees

14   fixed by the IWC is the minimum wage to be paid to employees, and the payment of a lesser

15   wage than the minimum so fixed is unlawful.

16           41.     During the relevant time period, Defendants paid Plaintiffs and Class Members

17   less than minimum wages when they failed to pay proper compensation for all hours worked. To

18   the extent these hours do not qualify for the payment of overtime, Plaintiffs and Class Members

19   were not being paid at least the lawful minimum wage for their work.

20           42.     During the relevant time period, Defendants regularly failed to pay at least

21   minimum wage to Plaintiffs and Class Members for all hours worked pursuant to Labor Code

22   §§ 1194 and 1197.

23           43.     Defendants' failure to pay Plaintiffs and Class Members the required minimum

24   wage violates Labor Code §§ 1194 and 1197. Pursuant to these sections, Plaintiff and Class

25   Members are entitled to recover the unpaid balance of their minimum wage compensation as well

26   as interest, costs, and attorneys' fees.

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                                                        ~
                                           CLASS ACTION COMPLAINT
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 1           44.     Pursuant to Labor Code § 1194.2, Plaintiffs and Class Members are entitled to

 2 I recover liquidated damages in an amount equal to the wages unlawfully unpaid and the accrued

 3 I interest thereon.

 4                                    SECOND CAUSE OF ACTION

 5                                    FAILURE TO PAY OVERTIlVIE

 6          (Violation of Labor Code §§ 510, 1194, and 1198; Violation of IWC Wage Order § 3)

 7           45.     Plaintiffs hereby re-allege and incorporates by reference all paragraphs above as

 8 I though fully set forth herein.

 9           46.     Labor Code § 1198 and the applicable IWC Wage Order provide that it is

10    unlawful to employ persons without compensating them at a rate of pay either one and one-half

11    (1 %2) or two (2) times the person's regular rate of pay, depending on the number of hours or days

12    worked by the person on a daily or weekly basis.

13           47.     Specifically, the applicable IWC Wage Orders provide that Defendants are and

14    were required to pay overtime compensation to Plaintiffs and Class Members at the rate of one

15    and one-half times (1%2) their regular rate of pay when working and for all hours worked in

16    excess of eight (8) hours in a day or more than forty (40) hours in a workweek and for the first

17    eight (8) hours of work on the seventh day of work in a workweek.

18           48.     The applicable IWC Wage Orders further provide that Defendants are and were

19    required to pay overtime compensation to Plaintiffs and Class Members at a rate of two times

20    their regular rate of pay when working and for all hours worked in excess of twelve (12) hours

21    in a day or in excess of eight (8) hours on the seventh day of work in a workweek.

22           49.     California Labor Code § 510 codifies the right to overtime compensation at one

23    and one-half (1 %2) times the regular hourly rate for hours worked in excess of eight (8) hours in

24 I a day or forty (40) hours in a week and for the first eight (8) hours worked on the seventh

25    consecutive day of work, and overtime compensation at twice the regular hourly rate for hours

26    worked in excess of twelve (12) hours in a day or in excess of eight (8) hours in a day on the

27   seventh day of work in a workweek.

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                                          CLASS ACTION COMPLAINT
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 1             50.     Labor Code § 510 and the applicable IWC Wage Orders provide that employment

 2     of more than six days in a workweek is only permissible if the employer pays proper overtime

 3     compensation as set forth herein.

 4             51.     Plaintiffs and Class Members were non-exempt employees entitled to the

 5     protections of California Labor Code §§ 510 and 1194.

 6             52.     During the relevant time period, Defendants required Plaintiffs and Class

 7     Members to work in excess of eight (8) hours in a day, forry (40) hours in a week, and/or for a

 8     seventh consecutive day in a workweek without paying Plaintiffs and Class Members proper

 9     overtime wages for their work.

10             53.     During the relevant time period, Defendants failed to pay Plaintiffs and Class

11     Members overtime wages for all overtime hours worked when Plaintiff and Class Members

12     worked in excess of eight (8) hours in a day, forty (40) hours in a week and/or for a seventh

13     consecutive day of work in a workweek, or when Plaintiffs and Class Members worked in excess

14     of twelve (12) hours in a day and/or in excess of eight (8) hours on the seventh day of work in a

15     work week.

16             54.     In violation of state law, Defendants knowingly and willfully refused to perform

17     their obligations and compensate Plaintiffs and Class Members for all wages earned and all hours

18     worked.

19             55.     Defendants' failure to pay Plaintiffs and Class Members the unpaid balance of

20     overtime and double time compensation, as required by California law, violates the provisions

21     of Labor Code §§ 510 and 1198, and is therefore unlawful.

22 '           56.     Pursuant to Labor Code § 1194, Plaintiffs and Class Members are entitled to

23     recover their unpaid overtime and double time compensation as well as interest, costs, and

24     attorneys' fees.

25                                      THIRD CAUSE OF ACTION
26                               FAILURE TO PROVIDE MEAL PERIODS
27               (Violation of Labor Code §§ 226.7 and 512; Violation of IWC Wage Order § 11)

28

                                                      -11-
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 1           57.     Plaintiffs hereby re-allege and incorporates by reference all paragraphs above as

 2 I though fully set forth herein

 3           58.     Labor Code § 226.7 provides that no employer shall require an employee to work

 4    during any meal period mandated by the IWC Wage Orders.

 5           59.     Section 11 of the applicable IWC Wage Order states, "[n]o employer shall employ

 6'   any person for a work period of more than five (5) hours without a meal period of not less than

 7    30 minutes, except that when a work period of not more than six (6) hours will complete the day's

 8    work the meal period may be waived by mutual consent of the employer and the employee."

 9           60.     Labor Code § 512(a) provides that an employer may not require, cause, or permit

10    an employee to work for a period of more than five (5) hours per day without providing the

11    employee with an uninterrupted meal period of not less than thirty (30) minutes, except that if the

12    total work period per day of the employee is not more than six (6) hours, the meal period may be

13    waived by mutual consent of both the employer and the employee.

14           61.     Labor Code § 512(a) also provides that an employer may not employ an employee

15    for a work period of more than ten (10) hours per day without providing the employee with a

16    second meal period of not less than thirry (30) minutes, except that if the total hours worked is no

17    more than twelve (12) hours, the second meal period may be waived by mutual consent of the

18    employer and the employee only if the first meal period was not waived.

19           62.     During the relevant time period, Plaintiffs and Class Members did not receive

20    compliant meal periods for working more than five (5) and/or ten (10) hours per day because their

21    meal periods were missed, late, short, interrupted, and/or they were not permitted to take a second

22    meal period.

23           63.     Labor Code § 226.7(b) and section 11 of the applicable IWC Wage Order requires

24    an employer to pay an employee one (1) additional hour ofpay at the employee's regular rate of

25    compensation for each work day that a compliant meal period is not provided.

26           64.     At all relevant times, Defendants failed to pay Plaintiffs and Class Members meal

27    period premiums for missed, late, short, and/or interrupted meal periods pursuant to Labor Code

28    § 226.7(b) and section 11 of the applicable IWC Wage Order.

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 1            65.    As a result of Defendants' failure to pay Plaintiffs and Class Members an

 2    additional hour of pay for each day a compliant meal period was not provided, Plaintiffs and Class

 3    Members suffered and continue to suffer a loss of wages and compensation.

 4                                    FOURTH CAUSE OF ACTIOhT

 5                                FAILURE TO PERMIT REST BREAKS
 6                  (Violation of Labor Code §§ 226.7; Violation of IWC Wage Order § 12)

 7            66.     Plaintiffs hereby re-allege and incorporates by reference all paragraphs above as

 8 I though fully set forth herein.

 9            67.     Labor Code § 226.7(a) provides that no employer shall require an employee to

10    work during any rest period mandated by the IWC Wage Orders.

11           68.      Section 12 of the applicable IWC Wage Order states "[e]very employer shall

12    authorize and permit all employees to take rest periods, which insofar as practicable shall be in

13    the middle of each work period[,]" and the "[a]uthorized rest period time shall be based on the

14    total hours worked daily at the rate of ten (10) minutes net rest time per four (4) hours or major

15    fraction thereof[,]" unless the total daily work time is less than three and one-half (3 %2) hours.

16           69.     During the relevant time period, Plaintiffs and Class Members did not receive a

17 I ten (10) minute rest period for every four (4) hours or major fraction thereof worked because they

18    were required to work through their daily rest periods, were not permitted to take timely rest

19    periods, and/or were not authorized to take their rest periods.

20           70.     Labor Code § 226.7(b) and section 12 of the applicable IWC Wage Order requires

21    an employer to pay an employee one (1) additional hour of pay at the employee's regular rate of

22    compensation for each work day that a compliant rest period is not provided.

23           71.     At all relevant times, Defendants failed to pay Plaintiffs and Class Members rest

24    period premiums for missed, late, and/or interrupted rest periods pursuant to Labor Code §

25    226.7(b) and section 12 of the applicable IWC Wage Order.

26           72.     As a result of Defendants' failure to pay Plaintiffs and Class Members an

27    additional hour of pay for each day a compliant rest period was not provided, Plaintiffs and Class

28    Members suffered and continue to suffer a loss of wages and compensation.

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     1                                     FIFTH CAUSE OF ACTION
     2                   FAILURE TO REIMBURSE NECESSARY BUSINESS EXPENSES

     3                               (Violation of Labor Code §§ 2800, 2802)

     4           73.      Plaintiffs hereby re-allege and incorporate by reference all paragraphs above as

     5   though fully set forth herein.

     6           74.      Labor Code § 2800 states that an employer shall in all cases indemnify his

     7 I employee for losses.

     8           75.      Labor Code § 2802 requires employers to indemnify their employees for all

     9   necessary expenditures or losses incurred by employees in direct consequence of the discharge of

    10   their duties.

    11           76.      Section 9 of the applicable IWC Wage Order states that when tools or equipment

    12   are required by the employer or are necessary to the performance of a job, such tools and

    13   equipment shall be provided and maintained by the employer.

    14           77.      During the relevant time period, Defendants required Plaintiffs and class members

    15   to incur expenses without properly compensating them for such expenses.

    16           78.      In violation of Labor Code §§ 2800 and 2802, Defendants failed to indemnify

    17   Plaintiff and class members for these expenses.

    18           79.      In committing the violations as herein alleged, Defendants have intentionally and

    19   willfully failed to fully reimburse Plaintiff and class members for necessary business-related costs

    20   and expenses. As a direct result, Plaintiffs and class members have suffered and continue to suffer

    21   substantial losses relating to the use and enjoyment of such expenses.

    22                                    SIXTH CAUSE OF ACTION

    23           FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS

    24                                     (Violation of Labor Code § 226)
    25          80.       Plaintiffs hereby re-allege and incorporates by reference all paragraphs above as

    26   though fully set forth herein.

    27          81.       Labor Code § 226(a) requires Defendants to provide each employee with an

    28   accurate wage statement in writing showing nine pieces of information, including, the following:

                                                         -14-
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 1   (1) gross wages earned, (2) total hours worked by the employee, (3) the number of piece-rate units

 2   earned and any applicable piece rate if the employee is paid on a piece-rate basis, (4) all

 3   deductions, provided that all deductions made on written orders of the employee may be

 4   aggregated and shown as one item, (5) net wages earned, (6) the inclusive dates of the period for

 5   which the employee is paid, (7) the name of the employee and the last four digits of his or her

 6   social security number or an employee identification number other than a social security number,

 7   (8) the name and address of the legal entity that is the employer, and (9) all applicable hourly

 8   rates in effect during the pay period and the corresponding number of hours worked at each hourly

 9   rate by the employee.

10           82.    During the relevant time period, Defendants have knowingly and intentionally

11   failed to comply with Labor Code § 226(a) on wage statements that were provided to Plaintiffs

12   and Class Members. Defendants provided Plaintiffs and Class Members with wage statements

13   that were missing or inaccurately stated one or more of the following items: (1) gross wages

14   earned, (2) total hours worked by the employee, (3) the number of piece-rate units earned and any

15   applicable piece rate if the employee is paid on a piece-rate basis, (4) all deductions, provided

16   that all deductions made on written orders of the employee may be aggregated and shown as one

17   item, (5) net wages earned, (6) the inclusive dates of the period for which the employee is paid,

18   (7) the name of the employee and the last four digits of his or her social security number or an

19   employee identification number other than a social security number, (8) the name and address of

20   the legal entity that is the employer, and/or (9) all applicable hourly rates in effect during the pay

21   period and the corresponding number of hours worked at each hourly rate by the employee.

22          83.     As a result of Defendants' knowing and intentional failure to comply with Labor

23   Code § 226(a), Plaintiffs and Class Members have suffered injury and damage to their statutorily-

24   protected rights. Specifically, Plaintiffs and Class Members are deemed to suffer an injury

25   pursuant to Labor Code § 226(e) where, as here, Defendants intentionally violated Labor Code §

26   226(a). Plaintiffs and Class Members were denied both their legal right to receive, and their

27   protected interest in receiving, accurate itemized wage statements under Labor Code § 226(a). In

28   addition, because Defendants failed to provide the accurate rates of pay on wage statements,

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 1   I   Defendants prevented Plaintiffs and Class Members from determining if all hours worked were

 2       paid at the appropriate rate and the extent of the underpayment. Plaintiffs have had to file this

 3       lawsuit in order to analyze the extent of the underpayment, thereby causing Plaintiffs to incur

 4       expenses and lost time. Plaintiffs would not have had to engage in these efforts and incur these

 I
 5       costs had Defendants provided the accurate hours worked, wages earned, and rates of pay. This

,I       has also delayed Plaintiffs' ability to demand and recover the underpayment of wages from

 7 I Defendants.

 8               84.      Plaintiffs and Class Members are entitled to recover from Defendants the greater

 9       of all actual damages caused by Defendants' failure to comply with Labor Code § 226(a) or fifty

10       dollars ($50.00) for the initial pay period in which a violation occurred and one hundred dollars

11       ($100.00) per employee for each violation in subsequent pay periods in an amount not exceeding

12       four thousand dollars ($4,000.00) per employee, plus attorneys' fees and costs.

13               85.      Defendants' violations of California Labor Code § 226(a) prevented Plaintiffs and

14       Class Members from knowing, understanding, and disputing the wages paid to them and resulted

15       in an unjustified economic enrichment to Defendants. As a result of Defendants' knowing and

16       intentional failure to comply with California Labor Code § 226(a), Plaintiff and Class Members

17       have suffered an injury, in the exact amount of damages and/or penalties to be shown according

18       to proof at trial.

19               86.      Class Members that are still employed by Defendants are also entitled to injunctive

20       relief under California Labor Code § 226(h), compelling Defendants to comply with California

21       Labor Code § 226. Accordingly, affected Class Members seek the recovery of attorneys' fees and

22       costs incurred in obtaining this injunctive relief.

23                                        SEVENTH CAUSE OF ACTION
24                            FAILURE TO PAY TIMELY DURING EMPLOYMENT
25                                  (Violation of Labor Code §§ 201.3, 204, 210)

26               87.      Plaintiffs hereby re-allege and incorporates by reference all paragraphs above as

27       though fully set forth herein.

28

                                                           -16-
                                              CLASS ACTION COMPLAINT
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 1           88.     Pursuant to California Labor Code §§ 201.3 and 204, employees must be paid

 2   within a certain number of days of the close of the pay period.

 3           89.    During the relevant time period, Defendants failed to timely pay Plaintiffs and

 4   Class Members wages earned during the pay period.

 5           90.     Such a pattern, practice and uniform administration of corporate policy regarding

 6   timely payment of wages as described herein is unlawful and creates an entitlement to recovery

 7   by Plaintiff in a civil action, for the unpaid balance of the full amount of damages owed, including

 8   interest thereon, penalties, attorneys' fees, and costs of suit according to the mandate of California

 9   Labor Code § 210.

10           91.    As a direct and proximate cause of these violations, Class Members have been

11   damaged, in an amount to be determined at trial.

12                                    EIGHTH CAUSE OF ACTION
13       FAILURE TO PAY ALL WAGES DUE UPON SEPARATION OF EMPLOYMENT
14                             (Violation of Labor Code §§ 201, 202, and 203)

15           92.    Plaintiffs hereby re-allege and incorporates by reference all paragraphs above as

16   though fully set forth herein.

17          93.     Labor Code §§ 201 and 202 provide that if an employer discharges an employee,

18   the wages earned and unpaid at the time of discharge are due and payable immediately, and that

19   if an employee voluntarily leaves his employment, his or her wages shall become due and payable

20   not later than seventy-two (72) hours thereafter, unless the einployee has given seventy-two (72)

21   hours previous notice of an intention to quit, in which case the employee is entitled to his or her

22   wages at the time of quitting.

23          94.     During the relevant time period, Defendants willfully failed to pay the Waiting

24   Time Subclass all their earned wages upon termination, including, but not limited to, proper

25   minimum wage and overtime compensation, meal period preiniums, and rest period premiums

26   either at the time of discharge or within seventy-two (72) hours of their leaving Defendants'

27   employ.

28

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                                          CLASS ACTION CONII'LAINT
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 1               95.       Defendants' failure to pay the Waiting Time Subclass all their earned wages at the

 2    time of discharge or within seventy-two (72) hours of their leaving Defendants' employ is in

 3    violation of Labor Code §§ 201 and 202.

 4               96.      Labor Code § 203 provides that if an employer willfully fails to pay wages owed

 5    immediately upon discharge or resignation in accordance with Labor Code §§ 201 and 202, then

 6    the wages of the employee shall continue as a penalty from the due date at the same rate until paid

 7    or until an action is commenced; but the wages shall not continue for more than thirty (30) days.

 8               97.      Pursuant to Labor Code § 203, the Waiting Time Subclass is entitled to recover

 9    from Defendants the statutory penalty, which is defined as the Waiting Time Subclass members'

10    regular daily wages at their regular hourly rate of pay for each day they were not paid, up to a

11    maximum of thirty (30) days.

12                                         NINTH CAUSE OF ACTION
13              VIOLATION OF BUSINESS AND PROFESSIONS CODE H 17200, ET SEQ.
14                          (Violation of Business and Professions Code §§ 17200, et seq.)

15               98.      Plaintiffs hereby re-allege and incorporates by reference all paragraphs above as

16 I though fully set forth herein.

17              99.       California Business and Professions Code §§ 17200, et seq., prohibits acts of

18    unfair competition, which includes any "unlawful, unfair or fraudulent business act or practice ..
          .,,
19    .

20              100.      A violation of California Business and Professions Code §§ 17200, et seq., may

21    be predicated on a violation of any state or federal law. In the instant case, Defendants' policies

22    and practices violated state law, causing Plaintiffs and Class Members to suffer and continue to

23    suffer injuries-in-fact.

24              101.      Defendants' policies and practices violated state law in at least the following

25    respects:

26                     (a) Failing to pay all wages earned (including minirnum wage, sick pay, double time,

27                        and overtime wages) to Plaintiffs and Class Members among other violations, in

28                        violation of Labor Code §§ 246, 510, 1182.12, 1194, 1194.2, 1197, and 1198.

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 1              (b) Failing to pay wages timely to Plaintiffs and Class Members during employment

 2                  in violation of Labor Code §§ 201.3 and 204.

 3              (c) Failing to pay Plaintiffs and Class Members wages in a medium negotiable and

 4                  payable in cash, on demand, without discount in violation of Labor Code §§ 212

 5                  and 213.

 6              (d) Failing to pay all overtime wages at the proper rate to Plaintiffs and Class Members

 7                  in violation of Labor Code §§ 510, 1194 and 1198;

 8              (e) Failing to provide compliant meal periods without paying Plaintiffs and Class

 9                  Members premium wages for every day said meal periods were not provided in

10                  violation of Labor Code §§ 226.7 and 512.

11              (f) Failing to authorize or permit compliant rest breaks without paying Plaintiffs and

12                  Class Members premium wages for every day said rest breaks were not authorized

13                  or permitted in violation of Labor Code § 226.7.

14              (g) Failing to reimburse Plaintiff and class members for necessary business expenses,

15                  in violation of Labor Code §§ 2800 and 2802.

16              (h) Failing to provide Plaintiffs and Class Members with accurate itemized wage

17                  statements in violation of Labor Code § 226.

18              (i) Failing to timely pay all earned wages to the members of the Waiting Time

19                  Subclass upon separation of employment in violation of Labor Code §§ 201, 202,

20                  203, 227.3.

21          102.    As alleged herein, Defendants systematically engaged in unlawful conduct in

22   violation of the California Labor Code and IWC Wage Orders, such as failing to pay all wages

23   (minimum and overtime wages), failing to provide meal periods and rest breaks or compensation

24   in lieu thereof, failing to furnish accurate wage statements, and failing to pay all wages due and

25   owing upon separation of employment in a timely manner, all in order to decrease their costs of

26   doing business and increase their profits.

27          103.    At all relevant times herein, Defendants held themselves out to Plaintiffs and Class

28   Members as being knowledgeable concerning the labor and employment laws of California.

                                                    -19-
                                         CLASS ACTION COMPLAINT
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 1            104.   At all times relevant herein, Defendants intentionally avoided paying Plaintiffs

 2    and Class Members wages and monies, thereby creating for Defendants an artificially lower cost

 3    of doing business in order to undercut their competitors and establish and/or gain a greater

 4    foothold in the marketplace.

 5           105.    As a result of Defendants' intentional, willful, purposeful, and wrongful

 6    misrepresentation of their conformance with the California Labor Code and IWC Wage Orders,

 7    Plaintiffs and Class Members suffered a loss of wages and monies, all in an amount to be shown

 8    according to proof at trial.

 9           106.    By violating the foregoing statutes and regulations as herein alleged, Defendants'

10    acts constitute unfair and unlawful business practices under California Business and Professions

11    Code §§ 17200, etseq.

12           107.    As a result of the unfair and unlawful business practices of Defendants, as alleged

13    herein, Plaintiffs and Class Members are entitled to injunctive relief, disgorgement, and restitution

14    in an amount to be shown according to proof at trial.

15           108.    Plaintiffs seek to enforce important rights affecting the public interest within the

16    meaning of California Code of Civil Procedure § 1021.5. Defendants' conduct, as alleged herein,

17    has been and continues to be unfair, unlawful, and harmful to Plaintiffs, Class Members, and the

18    general public. Based on Defendants' conduct as alleged herein, Plaintiffs and Class Members

19    are entitled to an award of attorneys' fees pursuant to California Code of Civil Procedure § 1021.5.

20                                        PRAYER FOR RELIEF

21           Plaintiffs, as individuals and on behalf of all others similarly situated, pray for relief and

22 I judgment against Defendants, jointly and severally, as follows:

23            l.     For certification under California Code of Civil Procedure § 382 of the proposed

24    Class, Waiting Time Subclass, and any other appropriate subclasses;

25           2.      For appointment of Brandon Mangold and Antar Morrar as the class

26    representatives;

27           3.      For appointment of Aegis Law Firm, PC, as class counsel for all purposes;

28           4.      For compensatory damages in an amount according to proof at trial;

                                                       -20-
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       Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 26 of 51




 1          5.      For an award of damages in the amount of unpaid compensation including, but

 2   not limited to, unpaid wages, benefits, and penalties;

 3          6.      For economic and/or special damages in an amount according to proof at trial;

 4          7.      For liquidated damages pursuant to Labor Code § 1194.2;

 5          8.      For statutory penalties to the extent permitted by law, including those pursuant to

 6   the Labor Code and IWC Wage Orders;

 7          9.      For injunctive relief as provided by the California Labor Code and California

 8   Business and Professions Code §§ 17200, et seq.;

 9          10.     For restitution as provided by Business and Professions Code §§ 17200, et seq.;

10          11.     For an order requiring Defendants to restore and disgorge all funds to each

11   employee acquired by means of any act or practice declared by this Court to be unlawful, unfair,

12   or fraudulent and, therefore, constituting unfair competition under Business and Professions

13   Code § § 17200, et seq.;

14          12.     For pre judgment interest;

15          13.     For reasonable attorneys' fees, costs of suit, and interest to the extent permitted

16   by law, including, but not limited to, Code of Civil Procedure § 1021.5, Labor Code §§ 226(e),

17   1194; and

18          14.     For such other relief as the Court deems just and proper.

19   Dated: Apri127, 2022                              AEGIS LAW FIRM, PC

20
                                                 By:~
21
                                                    Jessica L. Campbell
22                                                  Attorneys for Plaintiffs

23                                 DEMAND FOR JURY TRIAL
            Plaintiffs hereby demand a jury trial with respect to all issues triable of right by jury.
24
25   Dated: Apri127, 2022                              AEGIS LAW FIRM, PC

26
                                                 By:
27
                                                       Jessica L. Campbell
28                                                     Attorneys for Plaintiffs

                                                        -21-
                                         CLASS ACTION COMPLAINT
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                                      Exhibit B
                                                                                          220V397331
                                    Case 3:22-cv-03862 Document   1-1 Filed 06/29/22 Page 28 of 51
                                                           Santa Clara —                                      Civil


                                                                                                                                                                                     R'   F" ming
 Attorney or Party without Attorney:                                                                                                                    For Court Use Only
 Kashif Haque (SBN                 21 8672)
 AEGIS LAW FIRM, PC                                                                                                                         lectronically Filed
 9811       Irvine   Center Drive, Suite 100                                                                                          GUM
                                                                                                                                            y Superior Court of CA,
 Irvine, California             92618
                                                                                                                                            ounty of Santa Clara,
     Telephone No:              949. 379.6250
                                                                                                                                            n 6/7/2022 11:23           AM
                                                                                     Ref No. or        File   No.:
      Attorney For:             Plaintiff                                                                                             m .eviewed By: R.                Fleming
                                                                                     1068
                                                                                                                                            ase #22CV397331
     name of Court, andjudicia/ District and Branch Court:
 Insert                                                                                                                               n1
                                                                                                                                            nvelope: 91 571 96
 SUPERIOR COU RT OF THE STATE OF CALIFORNIA
 FORTHE COU NTY OF SANTA CLARA
     Plaintiﬁ':      BRANDON MANGOLD and ANTAR MORRAR,                                  as individuals and on behalf
                     of   all   others similarly situated
 Defendant:          BUCHERAND               CHRISTIAN CONSULTING,                |NC.; Etal.


             PROOF OF SERVICE                                     Hearing Date:                 Tim e:                Dept/Div:             Case Number:
                                                                                                                                            22CV397331
                      SUMMONS

     At the time of service             l   was at least 18 years of age and not a party to                     this action.



      Iserved copies of the Summons; Class Action Complaint; Civil Case Cover Sheet; Civil Lawsuit Notice; Order Deeming Case
      Complex and Staying Discovery and Responsive Pleading Deadline; Alternative Dispute Resolution Information Sheet

3.    a.     Party served:              BCFORWARD RAZOR,                   LLC
      b.     Person served:             Lai   Saevang, CSC Lawyers Incorporating Service, Registered Agent

     Address where the party was served:                          271 0 Gateway Oa ks           Dr.,    Suite 150N, Sacramento,               CA 95833

5.    Iserved the party:
      a.   by personal service.                  |   personally delivered the documents listed                       in   item 2 to the pa rty or person authorized to receive
                                                 service of process for the party (1) on (date): Tue,                        May 31 2022      (2) at (time):   03:40   PM
      (1)

      (2)
              m
              E
                           (business)
                           (home)
      (3)     E            (other):



      The "Notice           t0 the Person Served" (on the                  summons) was completed as follows:
      a.     E
             E            as an individual defendant.
                          as the person sued under the fictitious                name   of
      b.

      c.

      d.
             E
             m            as occupant.
                          On     behalf 0f    (speciﬁl):     BCFORWARD RAZOR,           LLC
                                                                                             (speciﬁl):




                          under the following Code of                      Procedure section:
                          E
                          E
                                     41 6.1 O (corporation)

                                     41 6.20 (defunct corporation)
                                                                   Civil

                                                                                                               E
                                                                                                               E
                                                                                                                            41 5.95 (business organization, form unknown)

                                                                                                                            41 6.60 (minor)

                          D
                          E
                                     41 6.30 (joint stock company/association)

                                     41 6.40 (association or partnership)
                                                                                                               E
                                                                                                               E
                                                                                                                            41 6.70 (ward or conservatee)

                                                                                                                            41 6.90 (authorized person)

                          E
                          m
                                     41 6.50 (public entity)

                                     other:          limited liability   company
                                                                                                               E            41 5.46 (occupa nt)




                     Judicial Council         Form POS-010                                   PROOF OF                                                                              7164739
                     Rule       2.1 50.(a)&(b)       RevJanuary   1,   2007                  SERV|CE                                                                         (1   1789529)
                                                                                                                                                                             Page        of 2
 IRSTLEGAL                                                                                SUMMONS                                                                                    1
                                    Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 29 of 51

 Attorney or Party without Attorney:                                                                                                 For Court Use Only
 Kashif      Haque (SBN             21 8672)
 AEGIS LAW FIRM, PC
 9811      Irvine   Center Drive, Suite 100
 Irvine, California            92618
     Telephone No:             949. 379.6250
                                                                                  Ref No. or    File   No.:
      Attorney For:            Plaintiff
                                                                                  1   068

      name of Court, andjudicia/ District and Branch Court:
 Insert

 SUPERIOR COU RT OF THE STATE OF CALIFORNIA
 FOR TH E COU NTY OF SANTA CLARA
     Plaintiﬁ':     BRANDON MANGOLD and ANTAR MORRAR,                                 as individuals and on behalf
                    of   all   others similarly situated
 Defendant:         BUCHERAND               CHRISTIAN CONSULTING,              |NC.; etal.


             P RO O F          OF   S E RV |C E                Hearing Date:                 Tim e:           Dept/Div:   Case Number:
                                                                                                                          22CV397331
                     SU    MMONS




                                                                                               Recoverable cost Per CCP 1033.5(a)(4)(B)
7.    Person       who served            papers
      a.     Name:                                    Michael Morris
      b.     Address:                                 FIRST LEGAL
                                                      600 W. Santa Ana         Blvd., Ste.    101
                                                      SANTA ANA, CA 92701
      c.     Telephone number:                        (714) 541-1 110
      d.     The fee       for service was:           $47.60
             lam:
      e.

             (1)

             (2)
                    E
                    E
                                  nota registered
                                  exempt from
                                                        California process server.

                                                     registration under Business            and Professions Code section 22350(b).
             (3)    m            a registered California process server:

                                 (i)       E    owner     E       employee        m         independent contractor
                                 (ii)      Registration N0:       201 2-33
                                 (iii)     County:    Sacramento




8.    I   declare under penalty ofperjury under the laws of the State of California that the foregoing is true                       and correct.




                                                                                                       06/06/2022

                                                                                                         (Date)                           Michael Morris




                    Judicial Council         Form POS-O1O                               PROOF OF
                    Rule       2.1 50.(a)&(b)   RevJanuary   1,   2007                   SERVICE
 IRSTLEGAL                                                                              SUMMONS
                                                                                          220V397331
                                    Case 3:22-cv-03862 Document   1-1 Filed 06/29/22 Page 30 of 51
                                                           Santa Clara —                                      Civil


                                                                                                                                                                                     R'   F" ming
 Attorney or Party without Attorney:                                                                                                                    For Court Use Only
 Kashif Haque (SBN                 21 8672)
 AEGIS LAW FIRM, PC                                                                                                                         lectronically Filed
 9811       Irvine   Center Drive, Suite 100                                                                                          GUM
                                                                                                                                            y Superior Court of CA,
 Irvine, California             92618
                                                                                                                                            ounty of Santa Clara,
     Telephone No:              949. 379.6250
                                                                                                                                            n 6/7/2022 11:10           AM
                                                                                      Ref No. or       File   No.:
      Attorney For:             Plaintiff                                                                                             m .eviewed By: R.                Fleming
                                                                                      1068
                                                                                                                                            ase #22CV397331
     name of Court, andjudicia/ District and Branch Court:
 Insert                                                                                                                               n1
                                                                                                                                            nvelope: 9156986
 SUPERIOR COU RT OF THE STATE OF CALIFORNIA
 FORTHE COU NTY OF SANTA CLARA
     Plaintiﬁ':      BRANDON MANGOLD and ANTAR MORRAR,                                  as individuals and on behalf
                     of   all   others similarly situated
 Defendant:          BUCHERAND               CHRISTIAN CONSULTING,                 |NC.; Etal.


             PROOF OF SERVICE                                      Hearing Date:                Tim e:                Dept/Div:             Case Number:
                                                                                                                                            22CV397331
                      SUMMONS

     At the time of service             l   was at least 18 years of age and not a party to                     this action.



      Iserved copies of the Summons; Class Action Complaint; Civil Case Cover Sheet; Civil Lawsuit Notice; Order Deeming Case
      Complex and Staying Discovery and Responsive Pleading Deadline; Alternative Dispute Resolution Information Sheet

3.    a.     Party served:              BUCHERAND             CHRISTIAN CONSULTING, INC.
      b.     Person served:             Lai   Saevang, CSC Lawyers Incorporating Service, Registered Agent

     Address where the party was served:                           271 0 Gateway Oa ks          Dr.,    Suite 150N, Sacramento,               CA 95833

5.    Iserved the party:
      a.   by personal service.                  |   personally delivered the documents listed                       in   item 2 to the pa rty or person authorized to receive
                                                 service of process for the party (1) on (date): Tue,                        May 31 2022      (2) at (time):   03:40   PM
      (1)

      (2)
              m
              E
                           (business)
                           (home)
      (3)     E            (other):



      The "Notice           to the Person Served" (on the                   summons) was completed as                      follows:
      a.     E
             E            asanindividualdefendant.
                          as the person sued under the fictitious                name   of
      b-

      c.

      d.
             E
             m            asoccupant.
                          On     behalf of    (speCIﬁI):    BUCHER AND CHRISTIAN CONSULTING,
                                                                                             (speCIﬁI):



                                                                                                                      INC.
                          under the following Code of                       Procedure section:
                          m
                          E
                                     41 6.1 O (corporation)

                                     41 6.20 (defunct corporation)
                                                                    Civil

                                                                                                               E
                                                                                                               E
                                                                                                                            41 5.95 (business organization, form unknown)

                                                                                                                            41 6.60 (minor)

                          E
                          E
                                     41 6.30 (joint stock company/association)

                                     41 6.40 (association or partnership)
                                                                                                               E
                                                                                                               E
                                                                                                                            41 6.70 (ward or conservatee)

                                                                                                                            41 6.90 (authorized person)

                          E
                          E
                                     41 6.50 (public entity)

                                     other:
                                                                                                               E            41 5.46 (occupa nt)




                     Judicial Council         Form POS-010                                   PROOF OF                                                                              7164731
                     Rule       2.1 50.(a)&(b)       Rev January   1,   2007                 SERVICE                                                                         (1   1789505)
                                                                                                                                                                             Page        of 2
 IRSTLEGAL                                                                                SUMMONS                                                                                    1
                                    Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 31 of 51

 Attorney or Party without Attorney:                                                                                                For Court Use Only
 Kashif      Haque (SBN             21 8672)
 AEGIS LAW FIRM, PC
 9811      Irvine   Center Drive, Suite 100
 Irvine, California            92618
     Telephone No:             949. 379.6250
                                                                                 Ref No. or    File   No.:
      Attorney For:            Plaintiff
                                                                                 1   068

      name of Court, andjudicia/ District and Branch Court:
 Insert

 SUPERIOR COU RT OF THE STATE OF CALIFORNIA
 FOR TH E COU NTY OF SANTA CLARA
     Plaintiﬁ':     BRANDON MANGOLD and ANTAR MORRAR,                                as individuals and on behalf
                    of   all   others similarly situated
 Defendant:         BUCHERAND               CHRISTIAN CONSULTING,             |NC.; etal.


             P RO O F          OF   S E RV |C E               Hearing Date:                 Tim e:           Dept/Div:   Case Number:
                                                                                                                         22CV397331
                     SU    MMONS




                                                                                              Recoverable cost Per CCP 1033.5(a)(4)(B)
7.    Person       who served            papers
      a.     Name:                                    Michael Morris
      b.     Address:                                 FIRST LEGAL
                                                      600 W. Santa Ana        Blvd., Ste.    101
                                                      SANTA ANA, CA 92701
      c.     Telephone number:                        (714) 541-1 110
      d.     The fee       for service was:           $1 33.50
             lam:
      e.

             (1)

             (2)
                    E
                    E
                                  nota registered
                                  exempt from
                                                        California process server.

                                                     registration under Business           and Professions Code section 22350(b).
             (3)    m            a registered California process server:

                                 (i)       E    owner     E       employee       m         independent contractor
                                 (ii)      Registration N0:       201 2-33
                                 (iii)     County:    Sacramento




8.    I   declare under penalty ofperjury under the laws of the State of California that the foregoing is true                      and correct.




                                                                                                      06/06/2022

                                                                                                        (Date)                           Michael Morris




                    Judicial Council         Form POS-O1O                              PROOF OF
                    Rule       2.1 50.(a)&(b)   RevJanuary   1,   2007                  SERVICE
 IRSTLEGAL                                                                             SUMMONS
                                                                                          220V397331
                                    Case 3:22-cv-03862 Document   1-1 Filed 06/29/22 Page 32 of 51
                                                           Santa Clara —                                   Civil


                                                                                                                                                                                        R'   F" ming
 Attorney or Party without Attorney:                                                                                                                       For Court Use Only
 Kashif Haque (SBN                 21 8672)
 AEGIS LAW FIRM, PC                                                                                                                            lectronically Filed
 9811       Irvine   Center Drive, Suite 100                                                                                             GUM
                                                                                                                                               y Superior Court of CA,
 Irvine, California             92618
                                                                                                                                               ounty of Santa Clara,
     Telephone No:              949. 379.6250
                                                                                                                                               n 6/8/2022 4:13            PM
                                                                                      Ref No. or    File   No.:
      Attorney For:             Plaintiff                                                                                                m .eviewed By: R.                Fleming
                                                                                      1068
                                                                                                                                               ase #22CV397331
     name of Court, andjudicia/ District and Branch Court:
 Insert                                                                                                                                  n1
                                                                                                                                               nvelope: 9173298
 SUPERIOR COU RT OF THE STATE OF CALIFORNIA
 FORTHE COU NTY OF SANTA CLARA
     Plaintiﬁ':      BRANDON MANGOLD and ANTAR MORRAR,                                  as individuals and on behalf
                     of   all   others similarly situated
 Defendant:          BUCHERAND               CHRISTIAN CONSULTING,                 |NC.; Etal.


             PROOF OF SERVICE                                      Hearing Date:                Tim e:             Dept/Div:                   Case Number:
                                                                                                                                               22CV397331
                      SUMMONS

     At the time of service             l   was at least 18 years of age and not a party to                  this action.



      Iserved copies of the Summons; Class Action Complaint; Civil Case Cover Sheet; Civil Lawsuit Notice; Order Deeming Case
      Complex and Staying Discovery and Responsive Pleading Deadline; Alternative Dispute Resolution Information Sheet

3.    a.     Party served:              GAINWELL TECHNOLOGIES LLC
      b.     Person served:             Diana Ruiz, CT Corporation System, Registered Agent.


     Address where the party was served:                           330 N Brand      Blvd., Suite     700, Glendale,            CA   91    203

5.    Iserved the party:
      a.   by personal service.                  |   personally delivered the documents listed                    in   item 2 to the pa rty or person authorized to receive
                                                 service of process for the party (1) on (date): Tue,                     May 31 2022            (2) at (time):   12:40   PM
      (1)

      (2)
              m
              E
                           (business)
                           (home)
      (3)     E            (other):



      The "Notice           t0 the Person Served" (on the                   summons) was completed as follows:
      a.     E
             E            asanindividualdefendant.
                          as the person sued under the fictitious                name   of
      b-

      c.

      d.
             E
             m            asoccupant.
                          On     behalf 0f    (speciﬁl):     GAINWELL TECHNOLOGIES LLC
                                                                                             (speciﬁl):




                          under the following Code of                       Procedure section:
                          E
                          E
                                     41 6.1 O (corporation)

                                     41 6.20 (defunct corporation)
                                                                    Civil

                                                                                                            E
                                                                                                            E
                                                                                                                         41 5.95 (business organization, form unknown)

                                                                                                                         41 6.60 (minor)

                          D
                          E
                                     41 6.30 (joint stock company/association)

                                     41 6.40 (association or partnership)
                                                                                                            E
                                                                                                            E
                                                                                                                         41 6.70 (ward or conservatee)

                                                                                                                         41 6.90 (authorized person)

                          E
                          m
                                     41 6.50 (public entity)

                                     other:          limited liability   company
                                                                                                            E            41 5.46 (occupa nt)




                     Judicial Council         Form POS-010                                   PROOF OF                                                                                 7164749
                     Rule       2.1 50.(a)&(b)       Rev January   1,   2007                 SERVICE                                                                            (1   1789530)
                                                                                                                                                                                Page        of 2
 IRSTLEGAL                                                                                SUMMONS                                                                                       1
                                    Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 33 of 51

 Attorney or Party without Attorney:                                                                                                For Court Use Only
 Kashif       Haque (SBN            21 8672)
 AEGIS LAW FIRM, PC
 9811      Irvine    Center Drive, Suite 100
 Irvine, California            92618
     Telephone No:             949. 379.6250
                                                                                 Ref No. or    File   No.:
      Attorney For:            Plaintiff
                                                                                 1   068

      name of Court, andjudicia/ District and Branch Court:
 Insert

 SUPERIOR COU RT OF THE STATE OF CALIFORNIA
 FOR TH E COU NTY OF SANTA CLARA
     Plaintiﬁ':     BRANDON MANGOLD and ANTAR MORRAR,                                as individuals and on behalf
                    of   all   others similarly situated
 Defendant:         BUCHERAND               CHRISTIAN CONSULTING,             |NC.; etal.


              P RO O F         OF   S E RV |C E               Hearing Date:                 Tim e:           Dept/Div:   Case Number:
                                                                                                                         22CV397331
                     SU    MMONS




                                                                                              Recoverable cost Per CCP 1033.5(a)(4)(B)
7.    Person        who served           papers
      a.      Name:                                   Douglas Forrest
      b.      Address:                                FIRST LEGAL
                                                      151 7 W. Beverly Blvd.
                                                      LOS ANGELES, CA 90026
      c.      Telephone number:                       (213) 250-1   1   11

      d.      The fee      for service was:           $1 03.25
      e.      lam:
              (1)

              (2)
                     E
                     E
                                 nota registered
                                 exempt from
                                                        California process server.

                                                     registration under Business           and Professions Code section 22350(b).
              (3)    m           a registered California process server:

                                 (i)       E   owner      E      employee       m          independent contractor
                                 (ii)      Registration No:      5141
                                 (iii)     County:    Los Angeles




8.    I   declare under penalty ofperjury under the laws of the State of California that the foregoing is true                      and correct.




                                                                                                      06/08/2022
                                                                                                                                          %—
                                                                                                        (Date)                           Douglas Forrest




                    Judicial Council         Form POS-O10                              PROOF OF
                     Rule 2.150.(a)&(b) RevJanuary          1,   2007                   SERV|CE
 FIRSTLEGAL                                                                            SUM MONS
Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 34 of 51




                                      Exhibit C
         Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 35 of 51



 1   GBG LLP
     JENNIFER SVANFELDT (SB# 233248)
 2   TERESA W. GHALI (SB# 252961)
     AMANDA M. OSOWSKI (SB# 317843)
 3   jensvanfeldt@gbgllp.com
     teresaghali@gbgllp.com
 4   amandaosowski@gbgllp.com
     601 Montgomery Street, Suite 1150
 5   San Francisco, CA 94111
     Telephone: (415) 603-5000
 6   Facsimile: (415) 840-7210
 7   Attorneys for Defendants
     BUCHER AND CHRISTIAN CONSULTING, INC.,
 8   and BCFORWARD RAZOR, LLC
 9
                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
10
                            IN AND FOR THE COUNTY OF SANTA CLARA
11

12   BRANDON MANGOLD and ANTAR                  Case No. 22CV397331
     MORRAR, as individuals and on behalf of
13   all others similarly situated,             DEFENDANTS BUCHER AND
                                                CHRISTIAN CONSULTING, INC. AND
14                  Plaintiffs,                 BCFORWARD RAZOR, LLC’S ANSWER
                                                TO PLAINTIFFS’ CLASS ACTION
15            vs.                               COMPLAINT
16   BUCHER AND CHRISTIAN                       Dept.:        3
     CONSULTING, INC.; BCFORWARD                Judge:        Hon. Patricia M. Lucas
17   RAZOR LLC; GAINWELL
     TECHNOLOGIES; BC FORWARDING                Complaint Filed: April 27, 2022
18   LLC; and DOES 1 through 20, inclusive,
19                  Defendants.
20

21

22

23

24

25

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28

     88951782.1
                    DEFENDANTS’ ANSWER TO PLAINTIFFS’ CLASS ACTION COMPLAINT
         Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 36 of 51



 1          Defendants Bucher and Christian Consulting, Inc. and BCForward Razor, LLC
 2   (“Defendants”), for themselves and no other defendant, hereby respond to the Class Action
 3   Complaint for Damages (“Complaint”) filed by Plaintiffs Brandon Mangold and Antar Morrar
 4   (“Plaintiffs”) as follows:
 5          1.      Pursuant to section 431.30(d) of the California Code of Civil Procedure,
 6   Defendants deny, generally and specifically, each and every material allegation in the Complaint.
 7          2.      Defendants further deny, generally and specifically, that Plaintiffs or any of the
 8   putative class members whom they seek to represent (the “Proposed Class”), are entitled to any
 9   of the relief requested, or that they have been or will be damaged in any sum, or at all, by reason
10   of any act or omission on the part of Defendants or any of their past or present employees,
11   representatives, or agents.
12          Without admitting any facts alleged by Plaintiffs, Defendants also plead the following
13   separate and affirmative defenses to the Complaint:
14                                    AFFIRMATIVE DEFENSES
15                        FIRST SEPARATE AND AFFIRMATIVE DEFENSE
16          1.      The Complaint fails to state facts sufficient to constitute a cause of action against
17   Defendants.
18                      SECOND SEPARATE AND AFFIRMATIVE DEFENSE
19          2.      Defendants are improperly joined in this action to the extent they were never the
20   employer of Plaintiffs and/or the Proposed Class and thus cannot be liable under any of the
21   causes of action alleged in the Complaint.
22                       THIRD SEPARATE AND AFFIRMATIVE DEFENSE
23          3.      On information and belief, “BC Forwarding LLC” is not a cognizable legal entity
24   and thus is not properly named as a defendant in this matter, nor is “BC Forwarding LLC” a
25   fictitious business name under which BCForward Razor LLC or Bucher and Christian
26   Consulting, Inc. are doing business.
27                      FOURTH SEPARATE AND AFFIRMATIVE DEFENSE
28          4.      The Complaint, and each claim and cause of action alleged therein, are barred as

                                                      -1-
                    DEFENDANTS’ ANSWER TO PLAINTIFFS’ CLASS ACTION COMPLAINT
         Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 37 of 51



 1   asserted against Defendants to the extent Defendants were never the employer or joint employer
 2   of Plaintiffs and/or the Proposed Class.
 3                       FIFTH SEPARATE AND AFFIRMATIVE DEFENSE
 4          5.      Some or all of Plaintiffs’ purported claims, and those of the Proposed Class, are
 5   barred, in whole or in part, by the doctrines of res judicata, collateral estoppel, and/or accord and
 6   satisfaction, to the extent those claims have already been litigated, settled and/or released, or
 7   have been covered by other litigation that was pursued on their behalf.
 8                       SIXTH SEPARATE AND AFFIRMATIVE DEFENSE
 9          6.      Plaintiffs and/or the Proposed Class have waived the right, if any, to pursue the
10   claims in the Complaint by reason of their own acts and conduct, including but not limited to
11   their choice to waive, skip, shorten or delay the taking of meal periods or rest breaks that
12   Defendants provided to them.
13                     SEVENTH SEPARATE AND AFFIRMATIVE DEFENSE
14          7.      There was no knowing and intentional failure on Defendants’ part to provide
15   proper itemized wage statements, nor did Plaintiffs and/or the Proposed Class “suffer injury” as a
16   result of any alleged violation by Defendants of Labor Code section 226.
17                      EIGHTH SEPARATE AND AFFIRMATIVE DEFENSE
18          8.      Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs and/or the
19   Proposed Class consented to the conduct that is the subject of the Complaint.
20                       NINTH SEPARATE AND AFFIRMATIVE DEFENSE
21          9.      Plaintiffs and/or the Proposed Class are estopped from asserting the claims in the
22   Complaint against Defendants by reason of their own actions and conduct.
23                       TENTH SEPARATE AND AFFIRMATIVE DEFENSE
24          10.     The Complaint is barred to the extent that Plaintiffs purport to pursue claims
25   outside the applicable statutes of limitation, including but not limited to California Code of Civil
26   Procedure sections 338 and 340, California Labor Code section 203, California Labor Code
27   section 226 and California Business and Professions Code section 17208.
28

                                                      -2-
                    DEFENDANTS’ ANSWER TO PLAINTIFFS’ CLASS ACTION COMPLAINT
         Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 38 of 51



 1                    ELEVENTH SEPARATE AND AFFIRMATIVE DEFENSE
 2           11.     Some or all of Plaintiffs’ purported claims are subject to crediting, offset, set-off,
 3   and/or recoupment by virtue of payments, including but not limited to overtime premium
 4   payments, that Defendants already have made to them and/or the Proposed Class.
 5                     TWELFTH SEPARATE AND AFFIRMATIVE DEFENSE
 6           12.     Plaintiffs’ claims are barred, in whole or in part, on the grounds that any recovery
 7   from Defendants would result in Plaintiffs’ unjust enrichment and/or that of the Proposed Class.
 8                   THIRTEENTH SEPARATE AND AFFIRMATIVE DEFENSE
 9           13.     Plaintiffs’ request for class certification should be denied because Plaintiffs
10   cannot satisfy the prerequisites for certification. In particular, Plaintiffs cannot carry their
11   burden of demonstrating: (a) that there exists an ascertainable class; (b) that there exists a well-
12   defined community of interest among members of the Proposed Class; (c) that the Proposed
13   Class is sufficiently numerous and that it would be impracticable to bring them all before the
14   Court; (d) that common questions predominate; (e) that Plaintiffs’ claims are typical of those of
15   the members of the Proposed Class; (f) that Plaintiffs are adequate class representatives (a
16   showing that is foreclosed by conflicts of interest between Plaintiffs and members of the
17   Proposed Class); (g) that Plaintiffs’ counsel can fairly and adequately represent the Proposed
18   Class; (h) that class treatment of the claims alleged in the Complaint is superior to other methods
19   of adjudicating the controversy; and (i) that a class action as alleged would be manageable.
20                   FOURTEENTH SEPARATE AND AFFIRMATIVE DEFENSE
21           14.     Any award against Defendants pursuant to Plaintiffs’ purported claim under
22   California Business and Professions Code Sections 17200 et seq. (the “UCL”) in the
23   circumstances of this case would violate Defendants’ due process and other constitutional rights
24   guaranteed under the United States and California Constitutions.
25                    FIFTEENTH SEPARATE AND AFFIRMATIVE DEFENSE
26           15.     An award of statutory penalties as sought by Plaintiffs, in the circumstances of
27   this case, would be so grossly disproportionate in ratio and amount to the actual harm suffered by
28   Plaintiffs and/or the Proposed Class that it would violate California’s established standards of

                                                       -3-
                    DEFENDANTS’ ANSWER TO PLAINTIFFS’ CLASS ACTION COMPLAINT
         Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 39 of 51



 1   due process protected under the California and United States Constitutions.
 2                    SIXTEENTH SEPARATE AND AFFIRMATIVE DEFENSE
 3           16.     The ninth cause of action is barred because the remedies under California
 4   Business and Professions Code section 17200 et seq. are limited to restitution and injunctive
 5   relief, and Plaintiffs, as non-employees, lack standing to pursue such claims.
 6                  SEVENTEENTH SEPARATE AND AFFIRMATIVE DEFENSE
 7           17.     The ninth cause of action is barred because Defendants allege on information and
 8   belief that Plaintiffs and the Proposed Class have not sustained the required injury in fact and/or
 9   lost the requisite money or property necessary to confer standing pursuant to California Business
10   and Professions Code Sections 17200 et seq.
11                   EIGHTEENTH SEPARATE AND AFFIRMATIVE DEFENSE
12           18.     Plaintiffs’ Complaint is barred, in whole or in part, to the extent Plaintiffs lack
13   standing. Furthermore, Plaintiffs, and other former employees in the Proposed Class on whose
14   behalf relief is sought, lack standing to seek and are otherwise not entitled to equitable or
15   injunctive relief.
16                   NINETEENTH SEPARATE AND AFFIRMATIVE DEFENSE
17           19.     Plaintiffs’ claims are barred, in whole or in part, because certain of the allegedly
18   unpaid time at issue in the Complaint falls within California’s common law de minimis doctrine
19   and thus is not compensable.
20                    TWENTIETH SEPARATE AND AFFIRMATIVE DEFENSE
21           20.     Plaintiffs and the Proposed Class are precluded from recovering restitution, in
22   whole or in part, from Defendants, under the applicable provisions of the law, because neither
23   Plaintiffs nor the Proposed Class can specify quantifiable monetary amounts converted by
24   Plaintiffs and the Proposed Class for which restitution is owed.
25                  TWENTY-FIRST SEPARATE AND AFFIRMATIVE DEFENSE
26           21.     In the event that a class is certified in this matter, Defendants incorporate by
27   reference and re-allege all of its defenses to Plaintiffs’ individual claims and assert them in
28   response to the claims alleged on behalf of any class members.

                                                       -4-
                    DEFENDANTS’ ANSWER TO PLAINTIFFS’ CLASS ACTION COMPLAINT
         Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 40 of 51



 1                 TWENTY-SECOND SEPARATE AND AFFIRMATIVE DEFENSE
 2          22.     Plaintiffs’ claim for failure to reimburse expenses pursuant to the California
 3   Labor Code Section 2802 is barred because Plaintiffs and/or any other individual Plaintiffs claim
 4   to represent never requested expense reimbursement nor otherwise placed Defendants on notice
 5   of the expenses being incurred.
 6                 TWENTY-THIRD SEPARATE AND AFFIRMATIVE DEFENSE
 7          23.     The Complaint, and each of its causes of action, is barred because at all times
 8   relevant to the Complaint, Defendants did not willfully or otherwise fail to comply with any
 9   provisions of the California Labor Code or California Industrial Welfare Commission Wage
10   Orders but rather, acted based on its good-faith belief that its acts or omissions were lawful.
11                 TWENTY-FOURTH SEPARATE AND AFFIRMATIVE DEFENSE
12          24.     Defendants currently have insufficient knowledge or information on which they
13   may form a belief as to whether they may have additional, as yet unstated, affirmative defenses
14   available. Defendants hereby reserve their right to assert additional defenses in the event that
15   discovery or further investigation reveals that they would be appropriate.
16          WHEREFORE, Defendants pray for judgment as follows:
17          1.      That the Court deny certification of any class or subclass in this matter, and that
18   Plaintiffs’ class allegations be stricken, denied, and/or dismissed;
19          2.      That Plaintiffs take nothing by reason of their Complaint, that the Complaint be
20   dismissed in its entirety with prejudice, and that judgment be entered for Defendants;
21          3.      That Defendants be awarded their reasonable costs and attorneys’ fees; and
22          4.      That Defendants be awarded such other and further relief as the Court deems just
23   and proper.
24   DATED: June 28, 2022                                GBG LLP
25                                                       By:
                                                                   JENNIFER SVANFELDT
26

27                                                       Attorneys for Defendants
                                                         BUCHER AND CHRISTIAN
28                                                       CONSULTING, INC., and BCFORWARD
                                                         RAZOR, LLC
                                                      -5-
                    DEFENDANTS’ ANSWER TO PLAINTIFFS’ CLASS ACTION COMPLAINT
         Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 41 of 51



 1                                         PROOF OF SERVICE
 2           I am employed in the City of San Francisco and County of San Francisco, State of

 3   California. I am over the age of eighteen years and not a party to the within-entitled action. My

 4   business address is 601 Montgomery Street, Suite 1150, San Francisco, CA 94111.

 5           On June 28, 2002, I served a copy of the within document(s):
 6    DEFENDANTS BUCHER AND CHRISTIAN CONSULTING, INC. AND BCFORWARD
         RAZOR, LLC’S ANSWER TO PLAINTIFFS’ CLASS ACTION COMPLAINT
 7

 8   on the interested parties:

 9      ☐       VIA FAX: By transmitting via facsimile the document(s) listed above to the fax
                number(s) set forth below on this date before 5:00 p.m.
10
        ☒       VIA U.S. MAIL: I am readily familiar with the firm’s practice of collection and
11              processing of correspondence for mailing. Under that practice such sealed
                envelope(s) would be deposited with the U.S. postal service on the above date with
12
                postage thereon fully prepaid, at San Francisco, California.
13
        ☐       VIA OVERNIGHT SERVICE: By placing the document(s) listed above in a sealed
14              _________ envelope and affixing a pre-paid air bill, and causing the envelope to be
                delivered to a ________ agent for delivery.
15
        ☐       VIA PERSONAL SERVICE: By causing to be delivered the document(s) listed
16              above to the person(s) at the address(es) set forth below.

17      ☐       VIA E-MAIL: By transmitting a PDF version of the document(s) by e-mail to the
                person(s) set forth below using the e-mail address(es) indicated, pursuant to the
18              parties’ electronic service agreement.
19
      Kashif Haque                                      Email: jcampbell@aegislawfirm.com
20    Samuel A. Wong
      Jessica L. Campbell
21    Aegis Law Firm, PC
      9811 Irvine Center Drive, Suite 100
22    Irvine, CA 92618

23           I declare under penalty of perjury under the laws of the State of California that the above

24   is true and correct.

25           Executed on June 28, 2022, at San Francisco, California.

26
                                                                        Janet Gogna
27

28


                                             PROOF OF SERVICE
Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 42 of 51




                                     Exhibit D
         Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 43 of 51



 1   JENNIFER SVANFELDT (SB# 233248)
     TERESA W. GHALI (SB# 252961)
 2   AMANDA M. OSOWSKI (SB# 317843)
     jensvanfeldt@gbgllp.com
 3   teresaghali@gbgllp.com
     amandaosowski@gbgllp.com
 4   601 Montgomery Street, Suite 1150
     San Francisco, CA 94111
 5   Telephone: (415) 603-5000
     Facsimile: (415) 840-7210
 6
     Attorneys for Defendant
 7   BUCHER AND CHRISTIAN CONSULTING, INC.,
     and BCFORWARD RAZOR, LLC
 8

 9                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

10                          IN AND FOR THE COUNTY OF SANTA CLARA

11

12   BRANDON MANGOLD and ANTAR                  Case No. 22CV397331
     MORRAR, as individuals and on behalf of
13   all others similarly situated,             NOTICE TO SUPERIOR COURT OF
                                                DEFENDANT BCFORWARD RAZOR,
14                  Plaintiffs,                 LLC’S REMOVAL OF CIVIL ACTION
                                                TO FEDERAL COURT
15            vs.
16   BUCHER AND CHRISTIAN
     CONSULTING, INC.; BCFORWARD                Dept.:        3
17   RAZOR LLC; GAINWELL                        Judge:        Hon. Patricia M. Lucas
     TECHNOLOGIES; BC FORWARDING
18   LLC; and DOES 1 through 20, inclusive,     Complaint Filed: April 27, 2022
19                  Defendants.
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     88950515.1
     DEFENDANT’S NOTICE TO SUPERIOR COURT OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
         Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 44 of 51



 1   TO THE CLERK OF THE SUPERIOR COURT OF THE STATE OF CALIFORNIA FOR THE
 2   COUNTY OF SANTA CLARA:
 3          PLEASE TAKE NOTICE THAT on June 29, 2022, Defendant BCForward Razor, LLC
 4   (“Defendant”) removed this action to federal court by filing a Notice of Removal with the United
 5   States District Court for the Northern District of California, pursuant to 28 U.S.C. §§ 1332, 1441,
 6   and 1446.
 7          A copy of Defendant’s Notice of Removal is attached hereto as Exhibit “A.”
 8   DATED: June 29, 2022                                 GBG LLP
 9

10                                                        By:
                                                                    TERESA W. GHALI
11

12                                                        Attorneys for Defendant
                                                          BUCHER AND CHRISTIAN
13                                                        CONSULTING, INC.,
                                                          and BCFORWARD RAZOR, LLC
14

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     DEFENDANT’S NOTICE TO SUPERIOR COURT OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 45 of 51




 Exhibit A omitted to
  avoid duplication.
         Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 46 of 51



 1                                         PROOF OF SERVICE
 2           I am employed in the City of San Francisco and County of San Francisco, State of

 3   California. I am over the age of eighteen years and not a party to the within-entitled action. My

 4   business address is 601 Montgomery Street, Suite 1150, San Francisco, CA 94111.

 5           On June 29, 2002, I served a copy of the within document(s):
 6     NOTICE TO SUPERIOR COURT OF DEFENDANT BCFORWARD RAZOR, LLC’S
                  REMOVAL OF CIVIL ACTION TO FEDERAL COURT
 7

 8   on the interested parties:

 9      ☐       VIA FAX: By transmitting via facsimile the document(s) listed above to the fax
                number(s) set forth below on this date before 5:00 p.m.
10
        ☐       VIA U.S. MAIL: I am readily familiar with the firm’s practice of collection and
11              processing of correspondence for mailing. Under that practice such sealed
                envelope(s) would be deposited with the U.S. postal service on the above date with
12
                postage thereon fully prepaid, at San Francisco, California.
13
        ☐       VIA OVERNIGHT SERVICE: By placing the document(s) listed above in a sealed
14              _________ envelope and affixing a pre-paid air bill, and causing the envelope to be
                delivered to a ________ agent for delivery.
15
        ☐       VIA PERSONAL SERVICE: By causing to be delivered the document(s) listed
16              above to the person(s) at the address(es) set forth below.

17      ☒       VIA E-MAIL: By transmitting a PDF version of the document(s) by e-mail to the
                person(s) set forth below using the e-mail address(es) indicated, pursuant to the
18              parties’ electronic service agreement.
19
      Kashif Haque                                      Heather Hearne
20    Samuel A. Wong                                    The Kullman Firm, PLC
      Jessica L. Campbell                               4605 Bluebonnet Boulevard, Suite A
21    Aegis Law Firm, PC                                Baton Rouge, LA 70809
      9811 Irvine Center Drive, Suite 100               Email: hdh@kullmanlaw.com
22    Irvine, CA 92618
      Email: jcampbell@aegislawfirm.com
23            dgraves@aegislawfirm.com

24           I declare under penalty of perjury under the laws of the State of California that the above

25   is true and correct.

26           Executed on June 29, 2022, at San Francisco, California.

27
                                                                        Janet Gogna
28


                                             PROOF OF SERVICE
Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 47 of 51




                                      Exhibit E
         Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 48 of 51



 1   GBG LLP
     JENNIFER SVANFELDT (SB# 233248)
 2   TERESA W. GHALI (SB# 252961)
     AMANDA M. OSOWSKI (SB# 317843)
 3   jensvanfeldt@gbgllp.com
     teresaghali@gbgllp.com
 4   amandaosowski@gbgllp.com
     601 Montgomery Street, Suite 1150
 5   San Francisco, CA 94111
     Telephone: (415) 603-5000
 6   Facsimile: (415) 840-7210
 7   Attorneys for Defendants
     BUCHER AND CHRISTIAN CONSULTING, INC.,
 8   and BCFORWARD RAZOR, LLC
 9

10                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

11                          IN AND FOR THE COUNTY OF SANTA CLARA

12

13   BRANDON MANGOLD and ANTAR                  Case No. 22CV397331
     MORRAR, as individuals and on behalf of
14   all others similarly situated,             NOTICE TO ADVERSE PARTIES OF
                                                DEFENDANT BCFORWARD RAZOR,
15                  Plaintiffs,                 LLC’S REMOVAL OF CIVIL ACTION
                                                TO FEDERAL COURT
16            vs.
17   BUCHER AND CHRISTIAN
     CONSULTING, INC.; BCFORWARD                Dept.:        3
18   RAZOR LLC; GAINWELL                        Judge:        Hon. Patricia M. Lucas
     TECHNOLOGIES; BC FORWARDING
19   LLC; and DOES 1 through 20, inclusive,     Complaint Filed: April 27, 2022
20                  Defendants.
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     88950531.1
     DEFENDANT’S NOTICE TO ADVERSE PARTIES OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
         Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 49 of 51



 1   TO PLAINTIFFS BRANDON MANGOLD AND ANTAR MORRAR AND TO THEIR
 2   ATTORNEYS OF RECORD:
 3          PLEASE TAKE NOTICE THAT on June 29, 2022, Defendant BCForward Razor, LLC
 4   (“Defendant”) removed this action to federal court by filing a Notice of Removal with the United
 5   States District Court for the Northern District of California, pursuant to 28 U.S.C. §§ 1332, 1441,
 6   and 1446.
 7          A copy of Defendant’s Notice of Removal is attached hereto as Exhibit “A.”
 8   DATED: June 29, 2022                               GBG LLP
 9

10                                                      By:
                                                                    TERESA W. GHALI
11

12                                                      Attorneys for Defendant
                                                        BUCHER AND CHRISTIAN
13                                                      CONSULTING, INC.,
                                                        and BCFORWARD RAZOR, LLC
14

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       DEFENDANT’S NOTICE TO ADVERSE PARTIES OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 50 of 51




 Exhibit A omitted to
  avoid duplication.
         Case 3:22-cv-03862 Document 1-1 Filed 06/29/22 Page 51 of 51



 1                                         PROOF OF SERVICE
 2           I am employed in the City of San Francisco and County of San Francisco, State of

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 4   business address is 601 Montgomery Street, Suite 1150, San Francisco, CA 94111.

 5           On June 29, 2002, I served a copy of the within document(s):
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 7

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                postage thereon fully prepaid, at San Francisco, California.
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                person(s) set forth below using the e-mail address(es) indicated, pursuant to the
18              parties’ electronic service agreement.
19
      Kashif Haque                                      Heather Hearne
20    Samuel A. Wong                                    The Kullman Firm, PLC
      Jessica L. Campbell                               4605 Bluebonnet Boulevard, Suite A
21    Aegis Law Firm, PC                                Baton Rouge, LA 70809
      9811 Irvine Center Drive, Suite 100               Email: hdh@kullmanlaw.com
22    Irvine, CA 92618
      Email: jcampbell@aegislawfirm.com
23            dgraves@aegislawfirm.com

24           I declare under penalty of perjury under the laws of the State of California that the above

25   is true and correct.

26           Executed on June 29, 2022, at San Francisco, California.

27
                                                                        Janet Gogna
28


                                             PROOF OF SERVICE
